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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 14-469V
                                      Filed: April 30, 2018
                                       Not for Publication

*************************************
LAURA CECHANOWICZ,                             *
                                               *
         Petitioner,                           *
                                               *
 v.                                            *              Damages decision based on
                                               *              stipulation; human papillomavirus
                                               *              (“HPV”) vaccine; rheumatoid
SECRETARY OF HEALTH                            *              arthritis (“RA”)
AND HUMAN SERVICES,                            *
                                               *
         Respondent.                           *
                                               *
*************************************
Danielle A. Strait, Seattle, WA, for petitioner.
Darryl R. Wishard, Washington, DC, for respondent.

MILLMAN, Special Master

                              DECISION AWARDING DAMAGES1

        On April 30, 2018, the parties filed the attached stipulation in which they agreed to settle
this case and described the settlement terms. Petitioner alleges that she suffered from
rheumatoid arthritis (“RA”) that was caused by her receipt of the human papillomavirus (“HPV”)
vaccine on May 27, 2011. She further alleges that she experienced the residual effects of this
injury for more than six months. Respondent denies that the HPV vaccine caused petitioner to
suffer RA or any other injury. Nonetheless, the parties agreed to resolve this matter informally.

        The undersigned finds the terms of the stipulation to be reasonable. The court hereby

1
 Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and
move to delete such information prior to the document’s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
delete such material from public access.
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adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set for therein. Pursuant to the stipulation, the court awards:

    a. a lump sum of $726,907.68, in the form of a check payable to petitioner representing
       compensation for first year life care expenses ($26,907.68) and combined lost earnings,
       pain and suffering, and past unreimbursable expenses ($700,000.00) that would be
       available under 42 U.S.C. § 300aa-21(a)(1);

    b. an amount sufficient to purchase the annuity contract described in paragraph 10 of the
       stipulation, paid to the life insurance company from which the annuity will be purchased.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.2


IT IS SO ORDERED.


Dated: April 30, 2018                                                    /s/ Laura D. Millman
                                                                           Laura D. Millman
                                                                             Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS
____________________________________
                                      )
LAURA CECHANOWICZ,                    )
                                      )
                 Petitioner,          )
    v.                                )
                                      )        No. 14-469V
SECRETARY OF HEALTH                   )        Special Master Millman
AND HUMAN SERVICES                    )
                                      )
                Respondent.           )
____________________________________)

                                        STIPULATION

       The parties hereby stipulate to the following matters:

       1. Laura Cechanowicz, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the “Vaccine

Program”). The petition seeks compensation for injuries allegedly related to petitioner’s receipt

of the human papillomavirus (“HPV”) vaccine, which vaccine is contained in the Vaccine Injury

Table (the “Table”), 42 C.F.R. § 100.3 (a).

       2. Petitioner received the HPV vaccine on or about May 27, 2011.

       3. The vaccination was administered within the United States.

       4. Petitioner alleges that she suffered from rheumatoid arthritis (“RA”) as a result of

receiving the HPV vaccine, and further alleges that she experienced the residual effects of this

condition for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her condition.

       6. Respondent denies that the HPV vaccine caused petitioner to suffer from RA or any

other injury.
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       7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human Services will issue

the following vaccine compensation payments:

       a. A lump sum of $726,907.68 which amount represents compensation for first year life
       care expenses ($26,907.68) and combined lost earnings, pain and suffering, and past
       unreimbursable expenses ($700,000.00), in the form of a check payable to petitioner; and

       b. An amount sufficient to purchase the annuity contract described in paragraph 10
       below, paid to the life insurance company from which the annuity will be purchased
       (the “Life Insurance Company”).

       9. The Life Insurance Company must have a minimum of $250,000,000 capital and

surplus, exclusive of any mandatory security valuation reserve. The Life Insurance Company

must have one of the following ratings from two of the following rating organizations:

       a.      A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;

       b.      Moody’s Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;

       c.      Standard and Poor’s Corporation Insurer Claims-Paying Ability Rating: AA-,
               AA, AA+, or AAA;

       d.      Fitch Credit Rating Company, Insurance Company Claims Paying Ability Rating:
               AA-, AA, AA+, or AAA.

       10. The Secretary of Health and Human Services agrees to purchase an annuity contract

from the Life Insurance Company for the benefit of petitioner, Laura Cechanowicz, pursuant to

which the Life Insurance Company will agree to make payments periodically to petitioner as

follows:



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a. For future unreimbursable AETNA Maximum-out-of-Pocket expenses, beginning on
the first anniversary of the date of judgment, an annual amount of $6,000.00 to be paid up
to the anniversary of the date of judgment in year 2049, increasing at the rate of five
percent (5%), compounded annually from the date of judgment.

b. For future unreimbursable AETNA Premium expenses, beginning on the first
anniversary of the date of judgment, an annual amount of $3,550.00 to be paid up to the
anniversary of the date of judgment in year 2049, increasing at the rate of five percent
(5%), compounded annually from the date of judgment.

c. For future unreimbursable Medicare Supplement and Medicare Part D expenses,
beginning on the anniversary of the date of judgment in year 2049, an annual amount of
$16,639.45 to be paid for the remainder of petitioner’s life, increasing at the rate of five
percent (5%), compounded annually from the date of judgment.

d. For future unreimbursable Acupuncture expenses, beginning on the first anniversary
of the date of judgment, an annual amount of $1,290.00 to be paid up to the second
anniversary of the date of judgment, increasing at the rate of three percent (3%),
compounded annually from the date of judgment.

e. For future unreimbursable Massage expenses, beginning on the first anniversary of the
date of judgment, an annual amount of $1,086.00 to be paid up to the second anniversary
of the date of judgment. Thereafter, beginning on the second anniversary of the date of
judgment, an annual amount of $362.00 to be paid for the remainder of petitioner’s life,
all amounts increasing at the rate of three percent (3%), compounded annually from the
date of judgment.

f. For future unreimbursable Manual Wheelchair, Portable Ramp, Ankle Splint, Foot
Splint, Wrist Splint, Cervical Support, Electric Toothbrush, Hand Held Shower, Long
Handle Grip, Raised Toilet Seat, Rolling Walker, Shower Chair, and Sock Aid expenses,
on the anniversary of the date of judgment in year 2023, a lump sum of $757.44. Then,
on the anniversary of the date of judgment in year 2028, a lump sum of $916.56. Then,
on the anniversary of the date of judgment in year 2033, a lump sum of $757.44. Then,
on the anniversary of the date of judgment in year 2038, a lump sum of $916.56.
Thereafter, beginning on the anniversary of the date of judgment in year 2039, an annual
amount of $167.41 to be paid for the remainder of petitioner’s life, all amounts increasing
at the rate of three percent (3%), compounded annually from the date of judgment.

g. For future unreimbursable Wheelchair Backpack, Stand Up Chair, Heating Pad, Long
Handle Sponge, and Compression Sock expenses, beginning on the first anniversary of
the date of judgment, an annual amount of $236.53 to be paid up to the anniversary of the
date of judgment in year 2047. Then, beginning on the anniversary of the date of
judgment in year 2047, an annual amount of $158.10 to be paid up to the anniversary of
the date of judgment in year 2053. Then, on the anniversary of the date of judgment in
year 2053, a lump sum of $458.09. Thereafter, beginning on the anniversary of the date
of judgment in year 2054, an annual amount of $200.96 to be paid for the remainder of

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       petitioner’s life, all amounts increasing at the rate of three percent (3%), compounded
       annually from the date of judgment.

       h. For future unreimbursable Attendant Care expenses, beginning on the first anniversary
       of the date of judgment, an annual amount of $12,480.00 to be paid up to the anniversary
       of the date of judgment in year 2034. Then, beginning on the anniversary of the date of
       judgment in year 2034, an annual amount of $17,472.00 to be paid up to the anniversary
       of the date of judgment in year 2044. Then, beginning on the anniversary of the date of
       judgment in year 2044, an annual amount of $26,208.00 to be paid up to the anniversary
       of the date of judgment in year 2054. Thereafter, beginning on the anniversary of the
       date of judgment in year 2054, an annual amount of $29,952.00 to be paid for the
       remainder of petitioner’s life, all amounts increasing at the rate of three percent (3%),
       compounded annually from the date of judgment.

       i. For future unreimbursable Health Club expenses, beginning on the first anniversary of
       the date of judgment, an annual amount of $461.94 to be paid for the remainder of
       petitioner’s life, increasing at the rate of three percent (3%), compounded annually from
       the date of judgment.

At the sole discretion of the Secretary of Health and Human Services, the periodic payments set

forth in paragraph 10 above may be provided to petitioner in monthly, quarterly, annual or other

installments. The “annual amounts” set forth above describe only the total yearly sum to be paid

to petitioner and do not require that the payment be made in one annual installment. Petitioner

will continue to receive the annuity payments from the Life Insurance Company only so long as

she, Laura Cechanowicz, is alive at the time that a particular payment is due. Written notice

shall be provided to the Secretary of Health and Human Services and the Life Insurance

Company within twenty (20) days of Laura Cechanowicz’s death.

       11. The annuity contract will be owned solely and exclusively by the Secretary of Health

and Human Services and will be purchased as soon as practicable following the entry of a

judgment in conformity with this Stipulation. The parties stipulate and agree that the Secretary

of Health and Human Services and the United States of America are not responsible for the

payment of any sums other than the amounts set forth in paragraph 8 herein and the amounts

awarded pursuant to paragraph 12 herein, and that they do not guarantee or insure any of the

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future annuity payments. Upon the purchase of the annuity contract, the Secretary of Health and

Human Services and the United States of America are released from any and all obligations with

respect to future annuity payments.

        12. As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys’ fees and costs incurred in proceeding

upon this petition.

        13. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act

(42 U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.

        14. Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 12 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i),

subject to the availability of sufficient statutory funds.

        15. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys’ fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation either immediately or as part of the annuity contract, will be used

solely for petitioner’s benefit as contemplated by a strict construction of 42 U.S.C. §§ 300aa-

15(a) and (d), and subject to the conditions of 42 U.S.C. §§ 300aa-15(g) and (h).

        16. In return for the payments described in paragraphs 8 and 12, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,



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does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the HPV vaccination administered on or about May 27,

2011, as alleged by petitioner in a petition for vaccine compensation filed on or about June 3,

2014, in the United States Court of Federal Claims as petition No. 14-469V.

       17. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

       18. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties’

settlement and this Stipulation shall be voidable at the sole discretion of either party.

       19. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 12 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or




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amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       20. Petitioner hereby authorizes respondent to disclose documents filed by petitioner in

this case consistent with the Privacy Act and the routine uses described in the National Vaccine

Injury Compensation Program System of Records, No. 09-15-0056.

       21. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the HPV vaccine caused petitioner to suffer RA or

any other injury.

       22. All rights and obligations of petitioner hereunder shall apply equally to petitioner’s

heirs, executors, administrators, successors, and/or assigns.

                                    END OF STIPULATION
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/
/
/




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